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                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF KENTUCKY
                                         AT LOUISVILLE
                                            3:17-CV-91-DJH
                                   Case No. __________________

SONJA M. TYSON                                                                                   PLAINTIFF

v.

GENESIS ELDERCARE REHABILITATION
SERVICES, LLC, et al.                                                                        DEFENDANTS

                                        NOTICE OF REMOVAL

        Defendants, Genesis Eldercare Rehabilitation Services, LLC, and Regency Nursing, LLC

(“Regency Center”), hereby remove to the United States District Court for the Western District of

Kentucky, Louisville Division, the action captioned Sonja M. Tyson, v. Genesis Eldercare

Rehabilitation Services, LLC d/b/a Regency Center, Case No. 17-CI-00222, which is currently

pending in Jefferson Circuit Court, in the Commonwealth of Kentucky. As grounds for removal

of the Action, Defendants state:

        1.       On or about January 11, 2017, Sonja M. Tyson, in her individual capacity, filed a

Complaint in Jefferson County Circuit Court, Case No. 17-CI-00222.                       Defendant, Genesis

Eldercare Rehabilitation Services, LLC, was served with a single summons and a copy of the

Complaint on January 17, 2017, through its agent for service of process, Corporation Service

Company. Copies of all process and pleadings in said action are attached hereto in accordance

with 28 U.S.C. §1446(a). To date, Regency Nursing, LLC d/b/a Regency Center has not been

served through its registered agent.1




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  In her Complaint, Plaintiff incorrectly asserts that “Regency Center” is the assumed name of Genesis Eldercare
Rehabilitation Services, LLC. Regency Center is not an assumed name of Genesis Eldercare Rehabilitation Services,
LLC. Regency Center is the assumed name of Regency Nursing, LLC. Regency Nursing, LLC has not been served
through its registered agent for service of process.
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       2.     Upon information and belief, Plaintiff is and was at all times relevant hereto,

including at the time of filing this Notice of Removal and at the commencement of Civil Action

No. 17-CI-00222, a citizen of the state of Kentucky.

       3.     Defendant, Genesis Eldercare Rehabilitation Services, LLC, at all times relevant

hereto, including at the time of filing this Notice of Removal and at the commencement of Civil

Action No. 17-CI-00222, is a limited liability company organized under the laws of the state of

Pennsylvania and has a principal place of business in Pennsylvania.

       4.     In further support of diversity jurisdiction, Genesis Eldercare Rehabilitation

Services, LLC states that the sole member of Genesis Eldercare Rehabilitation Services, LLC is

Genesis Holdings, LLC. Genesis Holdings, LLC was organized under the laws of Delaware and

has a principal place of business in Pennsylvania. The parent entity of Genesis Holdings, LLC is

Genesis HealthCare, LLC. Genesis HealthCare, LLC was organized under the laws of Delaware

and has a principal place of business in Pennsylvania. The parent entity of Genesis HealthCare,

LLC is GEN Operations II, LLC. GEN Operations II, LLC was organized under the laws of

Delaware and has a principal place of business in Pennsylvania. The parent entity of GEN

Operations II, LLC is GEN Operations I, LLC. GEN Operations I, LLC was organized under the

laws of Delaware and has a principal place of business in Pennsylvania. The parent entity of GEN

Operations I, LLC is FC-GEN Operations Investment, LLC. FC-GEN Operations Investment,

LLC was organized under the laws of Delaware and has a principal place of business in

Pennsylvania. The managing member of FC-GEN Operations Investment, LLC is Sun Healthcare

Group, Inc. Sun Healthcare Group, Inc. was organized under the laws of Delaware and has a

principal place of business in Pennsylvania. The parent entity of Sun Healthcare Group, Inc. is




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Genesis Healthcare, Inc. Genesis Healthcare, Inc. was organized under the laws of the state of

Delaware with a principal place of business in Pennsylvania.

       5.      Defendant, Regency Nursing, LLC d/b/a Regency Center, at all times relevant

hereto, including at the time of filing this Notice of Removal and at the commencement of Civil

Action No. 17-CI-00222, is a limited liability company organized under the laws of the state of

Delaware and has a principal place of business in Pennsylvania.

       6.      In further support of diversity jurisdiction, Regency Center states that the sole

member of Regency Nursing, LLC is HBR Kentucky, LLC. HBR Kentucky, LLC was organized

under the laws of the state of Delaware and has a principal place of business in Pennsylvania. The

sole member of HBR Kentucky, LLC is Harborside Healthcare Limited Partnership. Harborside

Healthcare Limited Partnership was organized under the laws of the state of Massachusetts with a

principal place of business in Pennsylvania. The parent entity of Harborside Healthcare Limited

Partnership is Harborside Healthcare Advisors Limited Partnership.         Harborside Healthcare

Advisors Limited Partnership was organized under the laws of Massachusetts with a principal

place of business in Pennsylvania and its parent entity is Harborside Healthcare, LLC. Harborside

Healthcare, LLC was organized under the laws of the state of Delaware with a principal place of

business in Pennsylvania. The parent of Harborside Healthcare, LLC is Sunbridge Healthcare,

LLC. Sunbridge Healthcare, LLC was organized under the laws of the state of New Mexico with

a principal place of business in Pennsylvania. The parent of Sunbridge Healthcare, LLC is Sun

Healthcare Group, Inc. Sun Healthcare Group, Inc. was organized under the laws of the state of

Delaware with a principal place of business in Pennsylvania. The parent of Sun Healthcare Group,

Inc. is Genesis Healthcare, Inc. Genesis Healthcare, Inc. was organized under the laws of the state

of Delaware with a principal place of business in Pennsylvania.



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       7.      Due to the allegations raised in the Complaint attached hereto, Defendants believe

that Plaintiff seeks in excess of $75,000.00 in damages, exclusive of interest and costs.

       8.      This action is one over which this Court has original jurisdiction pursuant to the

provisions of 28 U.S.C. §1332(a)(1) and is one that may be removed to this Court pursuant to 28

U.S.C. §1441(a). This is an action between citizens of different states.

       9.      This Notice of Removal is filed within thirty (30) days after Defendants received a

copy of Plaintiff’s Complaint, as required by 28 U.S.C. §1446(b).

       10.     A copy of this Notice of Removal will be filed with the Clerk for the Jefferson

Circuit Court, in the Commonwealth of Kentucky and served upon other counsel of record.

                                              Respectfully submitted,

                                              GWIN STEINMETZ & BAIRD, PLLC


                                              /s/ Michael F. Sutton
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                                              Rehabilitation Services, LLC and Regency Nursing,
                                              LLC




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                                CERTIFICATE OF SERVICE

    I hereby certify that on February 14, 2017, I electronically filed the foregoing with the Clerk
of the Court by using the CM/ECF system, which will send a notice of electronic filing to the
following:

   Ray H. Stoess, Jr.
   600 West Main Street, Suite 100
   Louisville, Kentucky 40202
   Counsel for Plaintiff




                                             /s/ Michael F. Sutton
                                             Michael F. Sutton
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                                             Rehabilitation Services, LLC and Regency Nursing,
                                             LLC




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